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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                    *
 SAMUEL J. NDUATI and                               *
 CATHERINE NGANGA,                                  *
                                                    *
                Plaintiffs,                         *
                                                    *
                v.                                  *
                                                          Civil Action No. 21-cv-40059-ADB
                                                    *
 WALLACE G. NDUATI, PAULINE                         *
 MWANGI and PINNACLE HOME                           *
 HEALTHCARE SERVICES, INC.,                         *
                                                    *
                Defendants.                         *
                                                    *

          MEMORANDUM AND ORDER ON MOTION FOR COUNSEL FEES

BURROUGHS, D.J.

       This is an action brought by Samuel J. Nduati and Catherine Nganga, also known as

Catherine Mwangi, see [ECF No. 32-2 at 14], (collectively, “Plaintiffs”) to recover from Wallace

G. Nduati, Pauline Mwangi, and Pinnacle Healthcare Services, Inc. (collectively, “Defendants”)

for alleged breach of contract, breach of fiduciary duty, and violations of Mass. Gen. Laws ch.

93A §§ 9, 11 and 940 C.M.R. § 3.16(3), (4). [ECF No. 20 (“Am. Compl.”) at 1]. The Court

previously granted in part Plaintiffs’ motion for default judgment finding that Defendants were

liable for breach of fiduciary duty and violation of Mass. Gen. Laws ch. 93A but denied the

motion to the extent it sought costs and attorneys’ fees because Plaintiffs had not submitted any

documents to support their request. [ECF No. 33 at 6–11]. The Court further granted Plaintiffs

leave to file a renewed and properly supported motion for costs and attorneys’ fees. Plaintiffs

filed such a motion on February 7, 2023, [ECF No. 35], and the deadline for Defendants to file a

response expired on February 21, 2023. Finding the motion for fees unopposed and properly



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supported, the Court GRANTS the motion and awards Plaintiffs $31,605.00 in legal fees and

expenses.

       SO ORDERED.

February 23, 2023
                                                         /s/ Allison D. Burroughs
                                                         ALLISON D. BURROUGHS
                                                          U.S. DISTRICT JUDGE




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